     Case 2:99-cr-80796-RHC ECF No. 350, PageID.697 Filed 06/28/06 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                     Case No. 99-CR-80796-DT

RODNEY RICE,

              Defendant.
                                                  /

     ORDER GRANTING “MOTION TO DISMISS ATTORNEY AND APPOINT NEW
     COUNSEL” AND GRANTING “MOTION TO PROCEED IN FORMA PAUPERIS”

        Pending before the court are two motions filed by Defendant Rodney Rice: a

“Motion to Dismiss Attorney and to Appoint New Counsel” and a “Motion to Proceed In

Forma Pauperis,” both filed on May 17, 2006. Defendant’s attorney filed a response to

the “Motion to Dismiss Attorney. . .,” agreeing to the relief sought, and the government

has not filed any opposition brief to either of Defendant’s motions.

        First, inasmuch as both Defendant and his attorney desire to terminate their

attorney-client relationship, the court will grant Defendant’s motion to “dismiss” his

attorney. Moreover, the court is persuaded that Defendant is entitled to proceed on

appeal in forma pauperis, and that his is also entitled to court-appointed counsel. Under

28 U.S.C. § 1915, this court may authorize a proceeding,

        without prepayment of fees or security therefor, by a person who submits
        an affidavit that includes a statement of all assets such prisoner
        possesses that the person is unable to pay such fees or give security
        therefor.
  Case 2:99-cr-80796-RHC ECF No. 350, PageID.698 Filed 06/28/06 Page 2 of 3




28 U.S.C. § 1915(a)(1). An appeal may not be taken in forma pauperis, however, “if the

trial court certifies in writing that it is not taken in good faith.” § 1915(a)(3).

       Here, Defendant has submitted the requisite affidavit, and the court is satisfied

that in forma pauperis status is warranted. The court also finds that the appeal is taken

in good faith. The “good faith” standard is satisfied if the issues raised on appeal are

arguable on the merits and therefore not frivolous; a showing of probable success is not

required. Harkins v. Roberts, 935 F. Supp. 871, 873 (S.D. Miss. 1996) (quoting Howard

v. King, 707 F.2d 215, 219-20 (5th Cir. 1983)). “If the district court can discern the

existence of any nonfrivolous issue on appeal, the movant’s petition to appeal in forma

pauperis must be granted.” Id. (citing Howard, 707 F.2d at 220).

       For the reasons stated above, IT IS ORDERED that Defendant’s “Motion to

Dismiss Attorney and to Appoint New Counsel” [Dkt # 343] and “Motion to Proceed In

Forma Pauperis” [Dkt. # 344] are GRANTED.

       IT IS FURTHER ORDERED that the Federal Defender Office, 22nd Floor, 2255

Penobscot Building, Detroit, Michigan, 48226, telephone number (313) 961-4150, is

APPOINTED to represent Defendant in this case. Such representation shall continue

unless terminated by (1) order of the court; (2) appointment of substitute counsel; or (3)

appearance of retained counsel.


                                              S/Robert H. Cleland
                                             ROBERT H. CLELAND
                                             UNITED STATES DISTRICT JUDGE

Dated: June 28, 2006




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   Case 2:99-cr-80796-RHC ECF No. 350, PageID.699 Filed 06/28/06 Page 3 of 3




I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, June 28, 2006, by electronic and/or ordinary mail.


                                                                  S/Lisa Wagner
                                                                 Case Manager and Deputy Clerk
                                                                 (313) 234-5522




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